                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                          DOCKET NO. 3:17-cr-215-RJC-DCK

 UNITED STATES OF AMERICA,                                   )
                                                             )
                        Plaintiff,                           )
                                                             )
    vs.                                                      )                ORDER
                                                             )
 RHONDA RENEE SCOTT,                                         )
                                                             )
                      Defendants.                            )


          THIS MATTER IS BEFORE THE COURT on Defendant’s “Motion To Seal”

(Document No. 113) filed March 26, 2018. In accordance with the Local Rules, the Court has

considered the Motion to Seal, the public’s interest in access to such materials, and alternatives to

sealing. The Court determines that no less restrictive means other than sealing is sufficient

inasmuch as the Sentencing Memorandum contains sensitive and private information that is

inappropriate for public access. Having carefully considered the motion and the record, and for

good cause, the undersigned will grant the motion.

          IT IS, THEREFORE, ORDERED that Defendant’s “Motion To Seal” (Document No.

113) is GRANTED, and Defendant’s “Sentencing Memorandum” (Document No. 114) is sealed

until further Order of this Court.

          SO ORDERED.

                                          Signed: April 5, 2018




                                                  1

    Case 3:17-cr-00215-RJC-DCK             Document 118           Filed 04/05/18   Page 1 of 1
